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 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT TACOMA

 9   SECURITY NATIONAL INSURANCE
     COMPANY,                                                      NO. 3:24-cv-05059-TMC
10
                        Plaintiff,                                 NOTICE OF SETTLEMENT
11
                v.
12
     STANISLAV DOMANSKIY et al.,
13
                        Defendants.
14

15
                Plaintiff Security National Insurance Company (“Security National”) and Defendants
16
     Stanislav Domanskiy and Contractor Master, LLC (collectively, “Contractor Master”), 1 through
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     their respective counsel, hereby provide notice to the Court that the above-captioned matter has
18
     been tentatively resolved. The parties are finalizing their settlement arrangement, which involves
19
     settlement of the underlying lawsuit filed by Amanda Swulius and Kyle Berchin against Contractor
20
     Master. The parties anticipate completing their settlement within 21 days.
21
                Accordingly, the parties request that the Court stay all pending deadlines – including those
22
     pertaining to Security National’s pending Motion for Summary Judgment – to allow the parties to
23
     complete their settlement. The parties will submit dismissal paperwork upon completion of their
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     1
         Defendants Amanda Swulius and Kyle Berchin have been served but have not appeared in this action.

         NOTICE OF SETTLEMENT - 1                                                  Williams, Kastner & Gibbs PLLC
                                                                                   601 Union Street, Suite 4100
                                                                                   Seattle, WA 98101-2380
                                                                                   (206) 628-6600

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 1   settlement. The parties will advise the Court if, unexpectedly, settlement is not finalized in the

 2   next 21 days.

 3            JOINTLY SUBMITTED by the undersigned on this 3rd day of July, 2024.

 4    s/ Miles J. M. Stewart                           s/Jesse Conway
      Miles J. M. Stewart, WSBA # 46067                Jesse Conway, WSBA #41677
 5    Eliot M. Harris, WSBA # 36590                    CONWAY LAW, PLLC
      WILLIAMS, KASTNER & GIBBS PLLC                   1014 Franklin Street, Suite 106
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      601 Union Street, Suite 4100                     Vancouver, WA 98660
 7    Seattle, WA 98101-2380                           Telephone: (360) 906-1007
      Telephone: (206) 628-6600                        Email: jesse@conwaylaw.net
 8    Fax: (206) 628-6611
      Email: eharris@williamskastner.com               Attorneys for Defendants Stanislav Domanskiy
 9            mstewart@williamskastner.com             and Contractor Master, LLC
10
      Attorneys for Plaintiff Security National
11    Insurance Company

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      NOTICE OF SETTLEMENT - 2                                         Williams, Kastner & Gibbs PLLC
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                                                                       (206) 628-6600

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               Case 3:24-cv-05059-TMC Document 15 Filed 07/03/24 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE

 2            I hereby certify that I electronically filed the foregoing with the Clerk of the Court using

 3   the CM/ECF system, which will send electronic notification of such filing to all CM/ECF

 4   participants.

 5            DATED this 3rd day of July, 2024.

 6                                                       s/ Miles J. M. Stewart
                                                         Miles J. M. Stewart, WSBA # 46067
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